                                        Case 3:23-cv-03417-VC            Document 343      Filed 12/17/24     Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RICHARD KADREY, et al.,                           Case No. 23-cv-03417-VC (TSH)
                                   8                    Plaintiffs,
                                                                                           DISCOVERY ORDER
                                   9               v.
                                                                                           Re: Dkt. No. 309
                                  10     META PLATFORMS, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          For any documents over which Plaintiffs challenge Meta’s invocation of attorney-client

                                  14   privilege in ECF No. 309 (including the parties’ supplemental filings concerning that dispute), the

                                  15   Court ORDERS Meta to submit those documents to TSHpo@cand.uscourts.gov no later than

                                  16   December 18, 2024 for in camera review. Meta must submit both the redacted and unredacted

                                  17   versions.

                                  18          IT IS SO ORDERED.

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                                  20   Dated: December 17, 2024

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                                                                                                   THOMAS S. HIXSON
                                  22                                                               United States Magistrate Judge
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